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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


       DAVID J. LORENZO,                                       Hon. Claire C. Cecchi, U.S.D.J.
                                                               Hon. José R. Almonte, U.S.M.J.
                             Plaintiff

       vs.                                              Civ. No.: 2:23-CV-21849-CCC-JRA

       THE BOROUGH OF PALISADES                                         A Civil Action
       PARK, NEW JERSEY; CHONG
       PAUL KIM (individually and in his                                   ORDER
       official capacity as Mayor of the
       Borough of Palisades Park, New
       Jersey); and SUK “JOHN” MIN
       (Individually and in his official
       capacity as a member of the Borough
       Council of Palisades Park, New Jersey)

                             Defendants.


             THIS MATTER having come before the Court on a motion by R. Scott Fahrney, Esq., of

      the Law Firm of Semeraro & Fahrney, LLC, Attorneys for Defendants, The Borough of Palisades

      Park, Chong Paul Kim, and Suk “John” Min, pursuant to Fed. R. Civ. P. 12(b)(6), and the Court

      having considered the papers submitted herein, this matter being decided under Fed. R. Civ. P. 78,

      and for good cause shown;

             IT IS on this _______________________ day of _______________, 2019;

             ORDERED that the motion to dismiss all claims against Defendants, the Borough of

      Palisades Park, Chong Paul Kim, and Suk “John” Min, in Plaintiff’s Complaint pursuant to Fed.

      R. Civ. P. 12(b)(6) is hereby GRANTED; and it is further



                                                                                                 #3283112
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            ORDERED that all parties be served a copy of this Order via ECF.



                                               ____________________________________
                                                    Hon. Claire C. Cecchi, U.S.D.J.

      ______ Opposed

      ______ Unopposed




                                                  2

                                                                                      #3283112
